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                                   UNITED STATES DISTRICT COURT
                                  EASTERN DISTRICT OF LOUISIANA
------------------------------------------------------x
MILTON CAYETTE,                                       :
an individual,                                        : CASE NO.: 2:15-cv-05219-CJB-JCB
                                                      :
                  Plaintiff,                          :
                                                      :
vs.                                                   :
                                                      :
                                                      :
                                                      :
MIKE M. MARCELLO, INC.,                               :
                                                      :
                                                      :
                                                      :
                  Defendant.                          :
------------------------------------------------------x


                JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Fed. R. Civ. P. 41(a)(1)(ii), Plaintiff, Milton Cayette and defendant, Mike M.

Marcello, Inc., jointly stipulate to the dismissal of this action with prejudice.



       Respectfully submitted on this the 21st day of March, 2016.




/s/ Andrew D.Bizer___________________                  Vincent J. Sotile, Jr. (BRN #19159)
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COUNSEL FOR PLAINTIFF                                  COUNSEL FOR DEFENDANT




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                               CERTIFICATE OF SERVICE

       I hereby certify that on the 21st day of March, 2016, a copy of the foregoing was filed
with the Clerk of Court using the CM/ECF system and served upon all counsel of record.

                                                         /s/ Andrew D. Bizer
                                                         ANDREW D. BIZER




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